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  1    TIFFANY DEREN J.D.
       1804 GARNET A VENUE #239                                               Nov 16 2018
  2    SAN DIEGO, CA 92109
       858-262-0052
  3    tiffany .dehen@gmail.com                                                 s/ annettec


  4
       Pro Se Plaintiff
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  8
                           UNITED STATES DISTRICT COURT
  9
                          SOUTHERN DISTRICT OF CALIFORNIA
 10
 11    TIFFANY DEHEN, an individual           Case No.: 17-cv-00198-LAB-WVG
       on behalf of herself,
 12                                           PLAINTIFF'S NOTICE OF
                    Plaintiff,                MOTION AND MOTION TO
 13                                           DISMISS
             v.
 14
       JOHN DOES 1-l~TTWITTER,
 15    INC. UNIVERSI 1 Y OF SAN
       DIEGO, AND PERKINS COIE,
 16    LLP.,
 17                 Defendants.
18
19
20           PLEASE TAKE NOTICE that Pro Se Plaintiff, Tiffany L. Dehen,
21     moves this Court to dismiss all her claims against John Does 1-100 without
22     prejudice pursuant to Fed. R. Civ. P. 41(a). This notice of dismissal is being
23     filed with the Court before service by Defendant of either an answer or a
24     motion for summary judgment.
25
26
27     Dated: November 16, 2018
28
                                             1
       MOTION TO DISMISS                             No.: 17-cv-00198-LAB-WVG
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  3                                                        Tiffany L. Dehen
  4                                               180 Garnet Avenue, #239
  5                                                 Pacific Beach, CA 92109
  6                                                       Tel. 858-262-0052
  7                                              Tiffany.Dehen@Gmail.com
  8
  9                                                         Pro Se Plaintiff.
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       MOTION TO DISMISS                       No.: 17-cv-00198-LAB-WVG
